Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 1 of
                                      124




                             Exhibit
                                      3
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 2 of
                                           124




DOE NUMBER: 906
MARKETPLACE: Other
MERCHANT NAME: alcartoonly
SELLER ID: www.alcartoonly.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 3 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 4 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 5 of
                                           124




DOE NUMBER: 907
MARKETPLACE: Other
MERCHANT NAME: allhaulm
SELLER ID: www.allhaulm.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 6 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 7 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 8 of
                                           124




DOE NUMBER: 702
MARKETPLACE: Other
MERCHANT NAME: anblinlast
SELLER ID: anblinlast.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 9 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 10 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 11 of
                                           124




DOE NUMBER: 713
MARKETPLACE: Other
MERCHANT NAME: awakelet
SELLER ID: awakelet.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 12 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 13 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 14 of
                                           124




DOE NUMBER: 714
MARKETPLACE: Other
MERCHANT NAME: Beautifuldeer-Love
SELLER ID: www.beautifuldeer.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 15 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 16 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 17 of
                                          124




DOE NUMBER: 910
MARKETPLACE: Other
MERCHANT NAME: confidencem
SELLER ID: www.confidencem.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 18 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 19 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 20 of
                                          124




DOE NUMBER: 912
MARKETPLACE: Other
MERCHANT NAME: embravewise
SELLER ID: www.embravewise.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 21 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 22 of
                                           124




DOE NUMBER: 754
MARKETPLACE: Other
MERCHANT NAME: enjoyaitlife
SELLER ID: enjoyaitlife.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 23 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 24 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 25 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 26 of
                                           124




DOE NUMBER: 763
MARKETPLACE: Other
MERCHANT NAME: fankisses
SELLER ID: fankisses.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 27 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 28 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 29 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 30 of
                                           124




DOE NUMBER: 765
MARKETPLACE: Other
MERCHANT NAME: feelrational
SELLER ID: feelrational.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 31 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 32 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 33 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 34 of
                                           124




DOE NUMBER: 767
MARKETPLACE: Other
MERCHANT NAME: firemid
SELLER ID: firemid.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 35 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 36 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 37 of
                                           124




DOE NUMBER: 772
MARKETPLACE: Other
MERCHANT NAME: formulalm
SELLER ID: formulalm.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 38 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 39 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 40 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 41 of
                                           124




DOE NUMBER: 773
MARKETPLACE: Other
MERCHANT NAME: frame-wood.
SELLER ID: frame-wood.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 42 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 43 of
                                           124




DOE NUMBER: 775
MARKETPLACE: Other
MERCHANT NAME: futuremagics
SELLER ID: futuremagics.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 44 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 45 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 46 of
                                           124




DOE NUMBER: 778
MARKETPLACE: Other
MERCHANT NAME: glossarye
SELLER ID: glossarye.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 47 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 48 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 49 of
                                           124




DOE NUMBER: 913
MARKETPLACE: Other
MERCHANT NAME: goblinpocket
SELLER ID: www.goblinpocket.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 50 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 51 of
                                           124




DOE NUMBER: 781
MARKETPLACE: Other
MERCHANT NAME: gorgeousdo
SELLER ID: gorgeousdo.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 52 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 53 of
                                           124




DOE NUMBER: 785
MARKETPLACE: Other
MERCHANT NAME: hailoyearn
SELLER ID: hailoyearn.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 54 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 55 of
                                           124




DOE NUMBER: 914
MARKETPLACE: Other
MERCHANT NAME: happyhours-rover
SELLER ID: www.happyhours-rover.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 56 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 57 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 58 of
                                           124




DOE NUMBER: 915
MARKETPLACE: Other
MERCHANT NAME: implicitm
SELLER ID: www.implicitm.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 59 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 60 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 61 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 62 of
                                          124




DOE NUMBER: 916
MARKETPLACE: Other
MERCHANT NAME: inputependa
SELLER ID: www.inputependa.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 63 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 64 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 65 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 66 of
                                           124




DOE NUMBER: 800
MARKETPLACE: Other
MERCHANT NAME: jewelawne
SELLER ID: jewelawne.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 67 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 68 of
                                           124




DOE NUMBER: 803
MARKETPLACE: Other
MERCHANT NAME: jingle-shines
SELLER ID: jingle-shines.uk
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 69 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 70 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 71 of
                                           124




DOE NUMBER: 818
MARKETPLACE: Other
MERCHANT NAME: lovertune
SELLER ID: lovertune.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 72 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 73 of
                                           124




DOE NUMBER: 819
MARKETPLACE: Other
MERCHANT NAME: luckyarrange
SELLER ID: luckyarrange.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 74 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 75 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 76 of
                                           124




DOE NUMBER: 917
MARKETPLACE: Other
MERCHANT NAME: magicport
SELLER ID: www.magicport.net
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 77 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 78 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 79 of
                                           124




DOE NUMBER: 821
MARKETPLACE: Other
MERCHANT NAME: mattch-better
SELLER ID: mattch-better.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 80 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 81 of
                                           124




DOE NUMBER: 822
MARKETPLACE: Other
MERCHANT NAME: matureidea
SELLER ID: matureidea.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 82 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 83 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 84 of
                                           124




DOE NUMBER: 918
MARKETPLACE: Other
MERCHANT NAME: milletgo
SELLER ID: www.milletgo.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 85 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 86 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 87 of
                                          124




DOE NUMBER: 919
MARKETPLACE: Other
MERCHANT NAME: mite-wood
SELLER ID: www.mite-wood.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 88 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 89 of
                                           124




DOE NUMBER: 831
MARKETPLACE: Other
MERCHANT NAME: moonlightooze
SELLER ID: moonlightooze.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 90 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 91 of
                                           124




DOE NUMBER: 832
MARKETPLACE: Other
MERCHANT NAME: movingtune
SELLER ID: movingtune.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 92 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 93 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 94 of
                                           124




DOE NUMBER: 840
MARKETPLACE: Other
MERCHANT NAME: opportunuity
SELLER ID: opportunuity.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 95 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 96 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 97 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 98 of
                                          124




DOE NUMBER: 922
MARKETPLACE: Other
MERCHANT NAME: puppup
SELLER ID: www.puppup.net
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 99 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 100 of
                                          124




DOE NUMBER: 923
MARKETPLACE: Other
MERCHANT NAME: rationalu
SELLER ID: www.rationalu.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 101 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 102 of
                                          124




DOE NUMBER: 858
MARKETPLACE: Other
MERCHANT NAME: semi-sugarism
SELLER ID: semi-sugarism.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 103 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 104 of
                                           124




DOE NUMBER: 870
MARKETPLACE: Other
MERCHANT NAME: smarts-blue
SELLER ID: smarts-blue.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 105 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 106 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 107 of
                                          124




DOE NUMBER: 878
MARKETPLACE: Other
MERCHANT NAME: sunnylada
SELLER ID: sunnylada.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 108 of
                                      124
     Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 109 of
                                           124




DOE NUMBER: 880
MARKETPLACE: Other
MERCHANT NAME: superbzeal
SELLER ID: superbzeal.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 110 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 111 of
                                          124




DOE NUMBER: 924
MARKETPLACE: Other
MERCHANT NAME: supvogue
SELLER ID: www.supvogue.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 112 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 113 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 114 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 115 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 116 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 117 of
                                          124




DOE NUMBER: 883
MARKETPLACE: Other
MERCHANT NAME: swan-sunny
SELLER ID: swan-sunny.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 118 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 119 of
                                          124




DOE NUMBER: 891
MARKETPLACE: Other
MERCHANT NAME: tophotred
SELLER ID: tophotred.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 120 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 121 of
                                      124
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 122 of
                                      124
    Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 123 of
                                          124




DOE NUMBER: 927
MARKETPLACE: Other
MERCHANT NAME: youngfight
SELLER ID: youngfight.com
Case 1:23-cv-22322-DSL Document 130-7 Entered on FLSD Docket 10/14/2023 Page 124 of
                                      124
